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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Sasha Bell,

                                   Plaintiff(s),
v.                                                     Case No. 5:16−cv−10825−JCO−MKM
                                                       Hon. John Corbett OMeara
Lockwood, Andrews &
Newnam, PC, et al.,

                                   Defendant(s),



                          NOTICE OF DETERMINATION OF MOTION
                               WITHOUT ORAL ARGUMENT

     The following motion(s) have been filed:

                Motion to Remand − #3
   Pursuant to Eastern District of Michigan LR 7.1(f)(2), the motion(s) will be determined by
District Judge John Corbett O'Meara without oral argument.

   Response and reply briefs shall be filed in accordance with Eastern District of Michigan LR
7.1(e).

     Courtesy copies are required only if briefs, together with exhibits, exceed twenty pages.




                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/W. Barkholz
                                                    Case Manager

Dated: March 17, 2016
